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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

                                   CASE NO. 1:20-cv-01237


 PATRICIA KENNEDY,

         Plaintiff,

 v.

 MICHIGAN AVENUE SUITES, L.L.C.
 d/b/a COMFORT SUITES MICHIGAN
 AVENUE, an Illinois Limited Liability
 Company,

         Defendant.
                                                 /

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        COMES NOW Plaintiff, Patricia Kennedy, and, pursuant to Rule 41(a)(1)(A)(i),

Fed.R.Civ.P., hereby files this Notice of Voluntary Dismissal Without Prejudice, and states:

        1.     Plaintiff filed this action on February 20, 2020. See DE 1.

        2.     Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides:

                       (a) Voluntary Dismissal

                              (1) By the Plaintiff

                                     (A) Without a Court Order. Subject to [certain Rules and
                                     statutes inapplicable here], the plaintiff may dismiss an
                                     action without a court order by filing:

                                             (i) a notice of dismissal before the opposing party
                                             serves an answer or a motion for summary judgment
                                             ....
Fed. R. Civ. P. 41(a)(1)(A)(i).




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       3.      As of the date of this filing, Defendant, MICHIGAN AVENUE SUITES, L.L.C.

d/b/a COMFORT SUITES MICHIGAN AVENUE, has not filed an answer or a motion for

summary judgment.

       4.      Plaintiff therefore files this Notice of Voluntary Dismissal Without Prejudice.

       WHEREFORE Plaintiff and her counsel hereby give notice that the above-styled action is

voluntarily dismissed, without prejudice against Defendant.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record this March 11, 2020.


                                                     Respectfully submitted,

                                                     Attorney for Plaintiff(s):

                                                     By: /s/ Kimberly A. Corkill, Esq.

                                                     Kimberly A. Corkill, Of Counsel
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